           Case 1:04-cr-10029-GAO Document 593-1 Filed 10/14/20 Page 1 of 1
                                        OFFICE OF THE CLERK
                      UNITED STATES COURT OF APPEALS
                                        FOR THE FIRST CIRCUIT
MARIA R. HAMILTON                                                                     JOHN JOSEPH MOAKLEY
        CLERK                                                                      UNITED STATES COURTHOUSE
                                                                                  1 COURTHOUSE WAY, SUITE 2500
                                                                                        BOSTON, MA 02210
                                                                                          (617) 748-9057




                                                                November 17, 2020

  Robert M. Farrell, Clerk
  United States District Court
  for the District of Massachusetts
  1 Courthouse Way, Suite 2300
  Boston, MA 02210

           Re: US v. Carpenter, No. 1:04-cr-10029-GAO-1 (D. Mass.)
               Misdirected Notice of Appeal

  Dear Mr. Farrell:

           Enclosed is a notice of appeal in the above referenced case that was mistakenly filed by
  Daniel E. Carpenter in this court on October 14, 2020. I am transmitting the notice to you for
  docketing as of the date it was received in this court pursuant to Fed. R. App. Proc. 4(d). Please
  treat this notice as a duplicate if this pleading has already been filed in your court.

                                                                Sincerely,

                                                                Maria R. Hamilton, Clerk


  cc:      Daniel E. Carpenter
           18 Pond Side Lane
           West Simsbury, CT 06092


  SK; gk
